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                     EXHIBIT M
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                                                                                Y. David Scharf
                                                                                Chair and Managing Partner
                                                                                (212) 735-8604
                                                                                dscharf@morrisoncohen.com


                                                        July 14, 2021


VIA EMAIL AND OVERNIGHT DELIVERY

286 Rider Ave Acquisition LLC
679 Driggs Avenue
Brooklyn, New York 11211
Attention: Toby Moskovits

286 Rider Ave Development LLC
679 Driggs Avenue
Brooklyn, New York 11211
Attention: Toby Moskovits


Re:     Loan in the principal amount of $8,000,000.00 (the “Loan”) to 286 Rider Ave Acquisition
        LLC (“Borrower”), which Loan is currently held by Be-Aviv 286 Rider LLC (“Lender”)
        and is evidenced by that certain Promissory Note dated as of September 19, 2019 (the “Note”),
        as amended by the First Amendment to Promissory Note (the “Amendment”) dated as of
        September 18, 2020 (collectively, the “Loan Agreement”) and secured by, among other
        things, that certain Membership Interest Pledge Agreement dated as of September 19, 2019,
        given by 286 Rider Ave Development LLC for the benefit of Lender (the “Pledge”); that
        certain Mortgage and Security Agreement, dated September 19, 2019, made by and between
        Borrower and Lender in the principal amount of the Loan and recorded with the Office of the
        City Register for the City of New York on September 30, 2019, under CRFN 201900315617
        (the “Mortgage”) against the property located at 286 Rider Avenue, Bronx, New York; the
        Note, the Loan Agreement, the Pledge, the Mortgage, and all other documents evidencing or
        securing the Loan shall hereinafter collectively be referred to as the “Loan Documents”

Ladies and Gentlemen:

       I write on behalf of Be-Aviv 286 Rider LLC as Lender, in regard to the above referenced
Loan. Reference is hereby made to the Loan Documents. All capitalized terms used herein but not
otherwise defined herein shall have the meaning ascribed to them in the Loan Agreement.

        Pursuant to that certain letter dated March 2, 2021, Borrower was notified that by virtue of
Borrower’s failure to comply with certain terms and conditions of the Amendment, the Loan matured
on the Extended Maturity date of March 1, 2021. Pursuant to that certain letter dated April 27, 2021,
Borrower was notified that Borrower’s continued failure to pay the outstanding principal balance of
the Note, together with all accrued and unpaid interest thereon and all other sums due under the Loan
Agreement constituted an Event of Default under the Loan Documents. Further, by reason of the
Event of Default, Lender exercised Lender’s right to assign, transfer, and register, as applicable, all
membership and equity interest of the Borrower to and in the name of Lender as if Lender was the
absolute owner thereof.




909 Third Avenue, New York, NY 10022-4784 ∙ p:212.735.8600 ∙ f:212.735.8708 ∙ www.morrisoncohen.com
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286 Rider Ave Development LLC
July 14, 2021
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        Lender hereby states again, notifies you, and confirms that Lender has exercised its rights
under the Loan Documents and the Pledge, and makes demand for and directs Borrower to turn over
its corporate books and records to Lender.

         Notwithstanding the exercise of the foregoing right or any other rights or remedies or the
taking of (or omitting to take) any action, including without limitation the commencement or
continuation of discussions or negotiations, the acceptance of payments, or the postponement or delay
in taking any action or exercising rights or remedies, Lender has not and does not waive the Event of
Default or any other defaults which may exist now or hereafter. Lender shall not be limited or
restricted from enforcing any rights or remedies available to it, under the Loan Documents, at law or
in equity, or otherwise, including, without limitation, commencing foreclosure proceedings, seeking
the appointment of a receiver to collect rents and profits, or otherwise administering the collateral.

        No exercise of any rights or remedies or taking of (or omitting to take) any action, including
with limitation any negotiations, making or acceptance of payments, delay in making demand or
enforcing rights or remedies, or other action or inaction undertaken pursuant to this letter or under the
Loan Documents or otherwise, shall constitute a waiver, modification, limitation, or release of any of
Lender’s rights and remedies at law or in equity or under the Loan Documents, or otherwise, all of
which the Lender hereby reserves, unless otherwise specifically stated in a written agreement signed
by Lender.

        Should you have any questions, please feel free to contact me at (212) 735-8604.


                                                                 Respectfully submitted,




cc:

Treff & Lowy PLLC
481 Wythe Avenue, 2nd Floor
Brooklyn, New York 11249
Attention: Mark Schlanger, Esq.
